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 7                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                      )   Case No.: 1:18CR-00126-DAD-1
10
                                                    )
                    Plaintiff,                      )   ORDER GRANTING JOINT
11
                                                    )   STIPULATION TO CONTINUE
            vs.                                     )   SENTENCING
12
                                                    )
     VICTOR GARCIA,                                 )
13
                                                    )
                    Defendant.                      )
14
                                                    )
     ________________________________               )
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16
           The Court has read and considered the parties’ Joint Stipulation regarding request
17
     for continuance of the sentencing hearing date for Defendant, Victor Garcia, and for good
18
     cause having been shown:
19

20          IT IS HEREBY ORDERED that the current sentencing date in the above-entitled

21   case is continued from January 22, 2019, at 10:00 a.m. to April 29, 2019, at 10:00 a.m.
22

23   IT IS SO ORDERED.
24
        Dated:     January 18, 2019
25                                                      UNITED STATES DISTRICT JUDGE
26

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